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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :       Crim No. 21-MJ-128 (ZMF)
                                             :
               v.                            :
                                             :
CHRISTOPHER KELLY,                           :       Hearing Date: April 14, 2021
                                             :
                      Defendant.             :

                          UNOPPOSED MOTION TO CONTINUE

       The United States moves this Court, with consent of the defendant Christopher Kelly,

through counsel, Edward MacMachon, Jr., to continue this matter for a period of at least thirty

days to a date convenient with the Court.

       The defendant was arrested on a Complaint in this matter on January 20, 2021, and he had

his initial appearance before this Court on February 9, 2021. The matter was continued until April

14, 2021 for preliminary hearing and status conference. Since that time the United States has

obtained a Protective Order from this Court and provided a significant volume of initial discovery.

The parties have also met and conferred about additional steps. To that end, both parties agree

that a continuance of the preliminary hearing and the status date is warranted, and if there were a

hearing on this matter the parties would be asking for at least a 30 day continuance.

       Additionally, the parties are jointly requesting a continued tolling of the Speedy Trial Act,

as the additional time needed to take these steps is in the public and parties’ interests, and the

additional time requested is appropriate given Covid-19 issues,1 and the incredible volume of

discoverable material in the January 6, 2021 Capitol Riot cases.



1
 The Court has already continued to toll the Speedy Trial Act in all criminal cases due to the
COVID-19 Pandemic through at least August 31, 2021. See In re: Limited Resumption of
                                                 1
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                                          Respectfully submitted,

                                          Channing D. Phillips
                                          Acting United States Attorney

                                   By:              /s/
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Criminal Trials in Light of Current Circumstances Relating to the COVID-19 Pandemic,
Standing Order 21-10 (Howell, C.J.) (March 5, 2021).
                                             2
